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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                   Plaintiff,
                                                                zt-cY-6323(CJS)
                -v

$8,O4O.OO   UNITED STATES CURRENCY,

                                   Defendant


   NOTICE OF MOTION AND MOTION TO STRIKE TIIE LATE CLAIM AND
 ANSWER OF CRISTAL STARLING FOR FAILI]RE TO COMPLY WITH RI'LE G
 OF THE SUPPLEMENTAL RULES FOR ADMIRALTY OR MARITII\ffi CLAIMS
                 AND ASSET FORFEITURE ACTIONS


         The United States of America, by its attomey, Trini E. Ross, United States Attomey

for the Westem District of New York, Grace M. Carducci, Assistant United States Attorney,

of counsel, respectfully moves this Court to Strike theLate Claim and Answer filed by Cristal

Starling (hereinafter "Starling") pursuant to Rule G(8)(c) of the Supplemental Rules for

Admiralty or Maritime Claims and Asset Forfeiture Actions. In addition, the plaintiff

respectfully moves this Court pursuant to Rule 55(b) of the Federal Rules of Civil Procedure

to enter a judgment of default against the defendant currency. In support thereof, the plaintiff

offers the attached affidavit and memorandum of law of Grace M. Carducci, Assistant United

States   Attorney,   as   wellas all prior pleadings and proceedings had in this matter.




         PLEASE TAKE NOTICE that the United States will bring the above motion on             a

date, time, andplace to be scheduled by the Court, before the Honorable Charles J. Siragusa,
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United States District Court Judge, in the United States District Court, 100 State Street,

Rochester, New York 146t4.


DATED:      Rochester, New York, Decembe,      15,   202L.


                                                        TRINI E. ROSS
                                                       United States Attorney
                                                               District of New York


                                               BY
                                                             CE M.        UCCI
                                                                United States Attomey
                                                       United States Attomey's Office
                                                       500 Federal Building
                                                       100 State Street
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                               P1aintiff,
                                                                           2r-cy-6323(CJS)
                        -v-

$8,O4O.OO     UNITED STATES CURRENCY,

                               Defendant.



             AFFIDAVIT IN SUPPORT OF MOTION TO STRIKE
   CRISTAL STARLING'S LATE CLAIM AND ANSWER FOR FAILURE TO
 COMPLY WITH RULE G OF TIIE SUPPLEMENTAL RULES FOR ADMIRALTY
       OR MARITIME CLAIMS AND ASSET FORFEITURE ACTIONS


STATE OF NEWYORK               )
couNTY oF MONROE               )   SS:
CITY OF ROCHESTER )


         GRACE M. CARDUCCI, being duly sworn, deposes and says:


         1.      I am an Assistant United States Afforney in the office of Trini E. Ross, United

States   Attorney for the Western District of New York, and the attomey for the plaintiffin the

above-entitled   action. This affidavit is submitted in support of the plaintiffs request that   an

Order be granted striking the late claim and answer of Cristal Starling (hereinafter "Starling").




         2.      This action was commenced on April 16,2021, by filing a Verified Complaint

for Forfeiture against $8,040.00 United States curency (hereinafter the "defendant currency")

with the United States District Court, Westem District of New York.
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       3.      An Arest Warrant in Rem was issued by the Clerk of the Court on April          19,

2021 and was executed on the defendant currency by the United States Marshals Service on

June22,202I. The defendant currency remains in the custody ofthe United          States Marshals

Service.




       4.      A copy of the Arest Warrant       in Rem and the Verified Complaint was served

upon persons believed to have a claim or interest in the defendant curency, and/or thetr

attomey. On June 14,2027, Cristal Starling was sent, via FedEx, a copy of the Verified

Complaint, Arrest Warrant in Rem, and Notice of Forfeiture Action, at 466         Yz   West Main

Street, Rochester, New York 14608. The documents were delivered to Starling via FedEx

on June 14,2021, attl:56am.     .Sae   Docket No. 4.



       5.      As required by Rule     G( )(a)(iv)(C) of the Supplemental Rules for Admiralty or

Maritime Claims and Asset Forfeiture Actions, this action was posted on an official

govemment intemet site (www.forfeiture.gov) on          luly 20, 2021. Such publication      was

completed on August 20,2027.




       6   .   Having been given direct notice of this action on June 14, 2021 , Starling's claim

was due on July 161 2021.




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        7   .   On or about August 20,2021, the Government filed a request for Clerk's Entry

of Default. On August24,2027, the Clerk's Entry of Default was entered. See Docket No. 7.




        8.      On or about September 3, 2027, the government            fr7ed a   Motion for Entry of

Default against the defendant currenry. See Docket No.            8. The govemment did not serve
the Motion for Entry of Default on Starling.




        9   .   On or about November 30, 2021, more than four months after the deadline to

file a verified claim, Starling filed a claim



        10.     On or about December 3,2027, Starling filed an answer



        11.     No other claims or answers have been filed in this matter.



        12.     When the government commences a civil forfeiture action in rem, it must send

notice of the action and a copy of the complaint to any person who reasonably appears to be

a potential claimant. Fed. R. Civ. P. Supp. R. G(4Xb)(i). The notice must state the date on

which the notice is sent, the deadline for filing   a   claim that the answer to the complaint is due

2l   days after the filing of the claim, and the name of the govemment attomey to be served

with the claim and answer. Fed. R. Civ. P. Supp. R. G(4XbXii). The deadline for filing              a

claim must be "at least 35 days after notice is sent." Fed. R. Civ. P. Supp. R. G(4Xb)(iiXB)."




                                                    3
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        t3.      The time to file a claim had not been further extended either by the court or by

stipulation of the parties.



       WHEREFORE,          it is hereby requested that the Court enter an Order pursuant      to

Supplemental Rule G(S)(c) striking the late claim        answer filed by Starling.




                                                           M. Carducci
                                                               United States Attomey
Subscribed and sworn to before
me thisll'}ay of December,202l.




        Public




                                      b




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UNITED STATES DISTzuCT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                             Plaintiff,
                                                                           21-CY-6323(CJS)
                      -v-

$8,O4O.OO   UNITED STATES CURRENCY,

                             Defendant



 MEMORANDUM OF LAW IN SUPPORT OF PLAINTIF'F'S MOTION TO STRIKE
       TIIE LATE CLAIM AND ANSWER OF CRISTAL STARLING


       1.     Plaintiff, The United States ofAmerica, (hereinafter, the Govemment), submits

this Memorandum of Law in Support of its Motion to Strike Cristal Starling's late claim and

answer pursuant to Rule G(8)(c) of the Supplemental Rules for Admiralty or Maritime Claims

and Asset Forfeiture Actions.


                                 STATEMENT OF FACTS


       2.     On April 16, 2021, the Govemment fi7ed a Verified Complaint for Forfeiture

alleging that the defendant cuffency was subject to forfeiture pursuant to Title 27, Urited

States Code, Section 881(a)(6), ECF   No.   1.   Specifically, the defendant curency is $8,040.00

United States curency (hereinafte r " defendant currency ").



       3.     Notice of the forfeiture action was sent to Starling via FedEx, on June   ll, 2021.
Starling was served with: (1) a copy of the Verified Complaint for Forfeiture; (2) the Arrest
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Warrant in Rem; and (3) the Direct Notice of Forfeiture Action. The documents were

delivered to Starling via FedEx on June 14,2021, at l7:56am. See Docket No. 4



       4.      These documents put Starling on notice that           if   he wished to contest the

forfeiture action,   a   response was required, and deadlines were           in effect. First, the
Govemment's cover letter accompanying the Complaint and Direct Notice of Forfeiture

Action read:



       Notice of Forfeiture Action dated June 1 t,2021. Please note that this document
       specifies the time frames in which any potential claimants would need to file a veified
       claim/statement of interest and answer to the complaint in the United States
       District Court, Westem District of New York, with a copy being sent to this
       office.

Second, the Direct Notice of Forfeiture Action stated that the deadline for Starling to file a

claim was July 16,2021:

       Any person who     asserts an interest in any of the defendant property may
       contest the forfeiture by filing a claim in the United States District Court,
       Western District of New York, under case of the United States of Ameica v.
       $8,040.00 United States Currency; 2I-CY-6323 by July 16, 2021, in accordance
       with Rule G(5) of the Supplemental Rules forAdmiralty orMaritime andAsset
       Forfeiture Claims.


       5.      Havingbeen given directnotice ofthis action on June 17,2021, Starling's claim

was due on July 16,2021. Starling filed a late claim on November 30, 202L and an answer

on December 3,2021.




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                                       LEGAL ARGIJMENT

    1.      Procedural Rules Goveming Civil Asset Forfeiture Litigation.


            6.     The Civil Asset Forfeiture Reform Act, also known as "CAFRA", became

effective on August 23,2000, and codified in Title 18, United States Code, Section                 983. The
procedural rules goveming          civil   asset forfeiture actions are found            in Rule G of        the

Supplemental Rules         for Admiralty or Maritime Claims and Asset Forfeiture Actions.
Supplemental Rule G was adopted n2006 to bring together in one rule the central procedures

that govem civil forfeiture actions. Supplemental Rule G, advisory commiffee's note;                   see   also

18 U.S.C. $      983(aXaXA). Although civil forfeiture actions tunction much like               a typical   civil

action governed by the Rules of Civil Procedures, Rule G sets forth some of the unique

procedural mechanisms particular to forfeiture actions in rem that arise from a federal statute.l




         7   .     Civil Forfeiture actions   are in rem and are   not actions against a person. Via Mat

International South Ameica, Ltd. v. United States, M6 F.3d 7258, 1264              (tlth Cir. 2006) (a civil
forfeiture proceeding is not an action against the claimant but rather this an in rem action

against the      property). As such, any claimants to the property          are merely     interveners. United

States v.   All Funds in Account Nos. 747.034/278 (Banco Espanol         de Credito),295   F.3d23,25 (D.C.

Ctr. 2002) ("Civil forfeiture actions are brought against property, not people. The owner of

the property may intervene to protect his interest.").             See   also United States tt. Land & Bldg.



1
 Procedural issues not directly addressed by Supplemental Rule G may be addressed by the
Federal Rules of Civil Procedure. See Supplemental Rule G(1).

                                                     3
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Located at 99 Shffield   Rd.,Waltham, Mass., CfV. 05-CV-302SM, 2006 WL 827809 (D.N.H.

Mar. 29, 2006) ("In a civil forfeiture action, the defendant is the properfy subject to forfeiture.

A person who claims an interest in the property must intervene in the forfeiture proceeding in

accordance with the Supplemental Rules.").




        8.      When the govemment commences a civil forfeiture action in rem, it must send

notice of the action and a copy of the complaint to any person who reasonably appears to be

a potential clarmant.2 Supplemental Rule G(4XbX1). The notice must state the date when

it was sent, the deadline for filing   a   claim, that an answer to the complaint is due 2I days after

filing the claim, and the name of the govemment attomey to be served with the claim and

answer. Supplemental Rule G(4)(b)(ii). The deadline for filing            a claim must be "at least 35

days after notice is sent." Supplemental Rule G(4XbXiiXB). Notice must be sent by means

reasonably calculated to reach the potential claimant.3 Supplemental Rule G(4Xb)(iiiXA).

Notice is considered sent when it is "placed in the mai1, delivered to a commercial carrier, or

sent by elecffonic   mail."   Supplemental Rule G(a)(b)(iv). Notice of the action does not

require formal service of a summons as required under Rule 4 of the Federal Rules of Civil

Procedure. Supplemental Rule G, advisory committee's note.




2In addition to serving direct notice, the govemment must also provide notice by
publication. See Supplemental Rule G(aXa).
3   Notice may be sent to the potential claimant's attomey. Supplemental Rule G(4XbXiiD(B)

                                                     4
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        9.     Responsive pleadings to a civil forfeiture action are governed by Supplemental

Rule G(5)(formerly, Supplemental Rule           C(6). Unlike a typical civil action which will
generally require the filing and service of an answer           in response to a civil     complaint,

Supplemental Rule G(5) requires a respondent to take two steps. First, one who wishes to

assert an interest in the defendant property must file a claim       with the court and serve it on the

govemment. Supplemental Rules G(s)(a)(i) and G(5)(a)(1XD). The claim must: (1) identify

the property claimed; (2) identifu the claimant and his or her interest in the property; (3) be

signed under penalty        of   perjury; and (4) be served on the govemment affomey.

Supplemental Rule G(s)(a)(i). In the second step, the claimant must file an answer to the

complaint within 21 days of filing the claim. Supplemental Rule G(sXb).



        10.   Where the govemment sends direct notice to         a   potential claimant, that claimant

must flle a claim "by the time stated in a direct notice sent under Rule G(4)(B)" unless the

court "for good cause" sets a different    time.    Supplemental Rule G(s)(iiXA).


   2.   Strict Compliance with Rule G(5) is Required.


        11.   To contest    a   governmental forfeiture action, a claimant must first have standing

under both the statutes governing his claim, and Article      III of the Constitution.    United States

v.CambioExacto,S.A.,t66F.3d522,526(2dCtr.1999). Toestablishstatutorystandingina

forfeiture case, the claimant must comply with the procedural requirements set forth in

Supplemental Rule G(5) and        CAFRA.      United Statesv. Vazquez-Alvarez,760F.3dl93,I97 (2d

Clr.2014);18 U.S.C.    $   983. The claimant       must file a verified claim of ownership before he


                                                    5
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can file an answer and defend on the merits. The claimant lacks standing to contest the

forfeiture in the absence of this timely-filed   claim.     See United States   r   Conolly, 694F. App'x

10, 13 (2d Cn. 2017) (summary order); see United States v. Eng, 951 F.2d 461, 468 Qd CLr.

l99l) ("The filing of a verified claim is an essential          element     in establishing standing to
challenge a forfeiture"), abrogated on othergrounds by Degen v. United States, 5I7 U.S. 820 (1996).




          12.   This Court has stuck claims in federal forfeiture actions where a claimant fails

to comply with the requirements of Supplemental Rule G            (5).    See United States v. Premises   &

Real Prop. With    All Buildings,   Appurtenances,    &   Improvements, Located      at 210 Drake Dive,

Rocltester, New York,   No. 18-CV-6569 (CJS), 2021WL 2200512, at *4 (W.D.N.Y. June                        1,


2021) (This Court grants the government's motion to strike the claims because claimants fail

to comply with Supplemental Rule G(5) deadlines); United           States v. $541,395.06 U.S. Currency,


10-CV-6555-CJS, 2012      WL    3614294 (W.D.N.Y. Aug 21, 2012) (This Court held that the

claimant lacked statutory standing because the claimant filed an answer one day after the

deadline).



          13.   Other courts in the Westem District of New York routinely sffike claims in

federal forfeiture actions where       a claimant fails to comply with the requirements of
Supplemental Rule G     (5).   See United States v. $5,227.00 U.S. Curren?,     No. L2-CV-6528,2013

WL2450733 (W.D.N.Y. Jun. 5,2013) (striking claimants' answers due to their failure to file

a claim   in accordance with Supplemental Rule G); United        States   ofAmeica v. One 2000 Mercedes

Benz Bearing Vin   WD8L170G0YF127256,09-CV-06543,2010WL 4452096 (W.D.N.Y. Sep 23.


                                                  6
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2010) (failure to file a timely answer           in   accordance   with Supplemental Rule G prohibits

claimant from having the "requisite statutory standing for contesting the Government's

forfeiture."); United States v. $1,437.00 in U.S. Currenqt,242 F. Supp. 2d 793, 195-96

(W.D.N.Y.2002) (the court granted a motion for default judgment where claimant frled no

claim and filed answer out of time).



          74.     In addition, other courts routinely strike claims in federal forfeiture actions

where a claimant fails to comply with the requirements of Supplemental Rule G               (5).   See U.S.


u.   AII Right, Title and Interest in Property, Appurtetlances, and Improvements Known as 479 Tamaind

Drive, Hallendale, F'la. 2071    WL   1045095,at *3 (S.D.N.Y.2011); United States v. $11,585.00 and

$24,077.00    in United   States Currency,20t9   WL     1877295 (N.D.N .Y.2019) (The claimantfiled a

late claim and farled to show excusable neglect, and the court granted the government's

motion to strike); United States v. $1,084,170.78 Seizedfrom          Seacomm Federal Credit Union, 2015


WL      3500201 (N.D.N.Y. May          5, 2015) (The claimant did not seek approval from               the

govemment for additional time to file a claim until four or five weeks after the due date and

the court granted the government's motion to strike). But see United States v. $96,000                 U.S.


Currency, 2019    WL 333M93. at*l-2,4 (S.D.N.Y               . 2019) (The court held deparnrre from strict

compliance was warranted because claimant timely filed a claim, but did not file an answer

to the complaint until two months after it was due because the attorney's office did not

properly track the answer's due date because the clerk responsible for recording the deadline

failed to do so and resigned from their position without informing others of the deadline).

To contest the forfeiture, a claimant must first file a claim within the time specified in the

                                                        .7
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Government's notice.         See   Supp. R. G(5)(a) and 4(bXiiXB). Within fwenty-one days after

filing a claim, the claimant must file an answer United States v. $27,601.00 U.S. Currenqt,800

F. Supp. 2d465,467 (l,l.D.N.Y. 2011).



       15.      The procedural timelines are strictly construed. Cambio Exacto, 5.A.,166F.3d

at 529; United States   v.   Amiel,995 F.2d   367 , 372   Qd CLr. 1993); United States u. $1,437.00    U.S.

Curenqt,242F. Supp. 2dL93,195 (W.D.N.Y. 2002). The purpose of the strict timelines                        is

to "forcefl claimants to come forward as quickly            as possible after the   initiation of forfeiture

proceedings, so that the court may hear all interested parties and resolve the dispute without

delay."   United States v. $417,143.48      in   U.S. Currency,682 F.        App'x 77,79 (2d Cn.2017)

(summary order) (citing United States v. $487,825.00 in U.S. Currenqt, 484F.3d 662, 664 (3d

Cur.2007)).


       3.   Excusable Neglect


       16.     A court, however, has the discretion to excuse alate fiIing if the claimant can

show excusable neglect and a meritorious defense. United States v. One 1978 Piper Navajo

Aircrafi,748F.2d 316, 318 (5th Cir.1984). Mitigating factors which can excuse alate filing

include   a   good faith attempt         to file on time,       detrimental reliance      on government
misinformation, and the expenditure of considerable time and resources preparing for trial.

United States v. One Dairy Farm, 918 F.2d 310, 312        (lst Cir. 1990).




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         17. ln 7993, the Supreme Court elaborated on the term "excusable neglect" in
Pioneer Inv. Serv. v. Brunswick Assoc.    Ltd. P'ship, 507 U.S. 380 (1993). The Supreme Court

determined that the "somewhat elastic concept"            of   excusable neglect required courts to

consider   "a11   relevant factors", which bear on the question. Id. at 392. The four relevant

factors identified by the Court include the danger of prejudice to the non-movant; the length

of the delay and its potential impact on judicial proceedings; the reason for the delay,
including whether      it   was within the reasonable control     of the movant; and whether the
movant acted in good faith. Id. at395. While establishing that excusable neglect is a flexible

term, the Court nonetheless cautioned that mere "inadvertence, ignorance of the rules, or

mistakes consffuing the rules do not usually constitute 'excusable' neglect." Id. at392.




         18.      The Second Circuit has "taken a hard line" in its application       of   the Pioneer

standard.    See Silivanch v.   Celebity Cruises,333 F.3d 355,366-367 (2d Cir.2003) ("the equities

will rarely if ever favor a party who "fail[s] to follow the clear dictates of a court rule" and    ...

where "the rule is entirely clear, we continue to expect that aparty claiming excusable neglect

will,intheordinarycourse, lose....". Seealso UnitedStatesv.Premises&RealProp.WithAll

Buildings, Appurtenances, & Improvements, Located at 210 Drake Drive, Rochester, New York,        No.

18-CV-6569 (CJS), 202t        WL   2200512, at *4 (W.D.N.Y. June 1, 2021) (This Court does not

find excusable neglect for failure to comply with Rule G(5) of the Supplemental Rules); United

States v. Premises & Real Prop. With     AII Buildings, Appurtenances, & Improvements, Located at 210

Drake   Dive,   Rochester, New York,   No. 18-CV-6569 (CJS), 202Ly'L 2200512, at *4 flM.D.N.Y.

June 1, 202t)("The claimant has failed to provide the Court with an explanation of mitigating


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factors which can excuse alate filing, such as agood faith attempt to file on time, detrimental

reliance on government misinformation, or the expenditure of considerable time preparing

for ffial."); United States v. $417,143.78, more or less, in U.S. Currenqt, 682Fed. Appx. 17 (2nd

Clr.2017) (it was not an abuse of discretion to deny request to file late claim where claimant

offered no reason for failing to file within the filing deadline; the goal of Rule G, which is to

force claimants to come forward quickly, "would be thwarted if claimants came to view the

sffictures of Rule   G   as mere suggestions rather than as rules that    will presumptively   be

enforced"; that claimant resided outside the U.S. andthat there was no indication her claim

was false did not change the analysis); United States v. $5,227.00 U.S. Currenqt, l2-CY-6528,

2013   WL   2450733, *1 (W.D.N.Y. June 5, 2073) (claimants claims stricken because they

"have not provided any reason for their failure to comply with the Supplemental Rules such

that this Court could find excusable neglect and dispense with the procedural requirements.");

U.S. v. $27,601.00 (J.5. Currency, 800 F.Supp.2d 465, 467 (W.D.N.Y. 2011) (claimant's       claim

sricken because he failed to file an answer and did not even attempt "to demonsffate excusable

neglect for not doing so); United States v. Approximately $168,052.25 Seized From Northfield Bank,

2016WL 1169242,*2 &n.2 (E.D.N.Y. Mar. 16, 2016) (failure to file claim, request leave to

file late claim, or oppose default judgment indicated that the default was wiflful, not excusable

neglect; standard is the same whether court is asked to allow late claim ot to vacate default

judgment); United    States v. $1,084,170.78 Seizedfrom Seacomm Federal Credit   Union,2015 WL

3500201 (N.D.N.Y. May 5, 2015) (denying motion           to file late claim based on excusable

neglect; claimants' failure to retain counsel until after the filing deadline demonsffates failure

to follow rules clearly explained in Govemment's notice papers; that claimants might have a


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meritorious defense is irrelevant); t/S. v. $31,800        in U.S. Currency      2007     WL    3124730,    7-


2O[.D.N.Y.,2007) (the Court denied prospective claimant's request to reopen the matter

pursuant to Federal Rule of Civil Procedure 60@) on the grounds that he "failed to identifu

any ground upon which would justifi, relief from judgment in this maffer."); U.S. v. All Assets

of Blue Chip Coffee,Inc.836 F.Supp. 104, 108 (E.D.N.Y., 1993) ("A claimant in a civil forfeiture

action may file alate claim only upon a showing of 'excusable neglect."') (citing Fed.R.Civ.P.

6@)(2), United States v. Borromeo,945F.2d750,753 (4th Cir.1991).            See also     United States v. U.S.

Currency in the Amount of $41,807, More or Less, 795 F.Supp. 540,542 (E.D.N.Y.1992).




       19.      While rccognizing the flexibility permitted by Pioneer, the Circuit                       has

repeatedly focused on the reason for the delay as the critical factor in determining whether

excusable neglect   exists.   See   Midland Cogeneration Venture Ltd. P'ship     v.   Enron Corp., 479 F.3d

715, 123-24 (2d Cir. 2005); Silivanch,333 F.3d at 368("[We and other circuits have focused

on the third factor: the reason for the delay, including whether it was within the reasonable

conffol of the movant"); United Statesv. Hooper,43 F.3d at29; Weinstockv. Cleary, Gottleib,             Steeen


& Hamilton, l6E.3d 501, 503(2d Cfu. 1994).4 "[T]he four Pioneer factors do not carry equal

weight; the excuse given for the late filing must have the greatest                     import."       Graphic

Communication   Int'l   (Jnion u. Quebecor Printing Providence, 270 F.3d   t,   5-6 (1't Cfu. 2001).



a Other circuits have adopted a similar "hard line" to applying Pioneer that emphasizes the
reason forthe de1ay. See, e.g., United Statesv. Torres,372F.3dll59,1162-63 (10th Cr.2004);
      t
Lowry McDonnell Douglas Corp., 217 F .3d 457 , 463 (8th Cir. 2000) ("[A]t the end of the day,
the focus must be upon the nature of the neglect.") But see Pincay v. Andrews, 389 F.3d 853
(9th Cir. 2004) (en banc) (affirming ffial court's decision to allow late notice of appealbased
on a paralegal misreading the rule governing the appeal deadlines).


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        20.       In   $11,585.00 and $24,077.00     in United   States Currenqt,2019   WL 1877295, at*2;

citing Seacomm Fed. Credit Union,2015         WL 3500201, at*3, the court held that "the balancing

test is concerned with the specific prejudice to the government, of which there is little, if any,

given that the length of the delay is less than one month," and "[a]dditionally, the govemment

sets forth no evidence that [the claimant] acted                 in the absence of good faith-" Id. at
2.   Notwithstanding the fact that the first, second, and fourth factors weakened the

govemment's striking grounds, the court held thatbecause "filing a timely claim was certainly

within [the claimant's] ability to control," excusable neglect had not been established. Id. at

3.   See also   Graphic Communications     Int'l   Union v. Quebecor Pinting Prottidence, 270 F.3d 7, 5-6

(1" Cir. 200I). ("[T]he four Pioneer factors do not carry equal werght; the excuse given for the

late filing must have the greatest import. ")




        21.       Following Pioneer, the Second Circuit has made clear that the definition of

excusable neglect allows a court to "disallow untimely acts, as a general rule, when a paffy

fails to follow clear rules ." In re Lynch,430 F.3d 600, 604 (2d Cir.2005). The Second Circuit

initially made this evident in the context of Federal Rule of Civil Procedure 60(b), stating that:

                       [Wle do not believe that the possibility that a court may
                       properly    find excusable neglect on such grounds
                       [ambiguous or conflicting rules] alters the principle that
                       failure to follow the clear dictates of a court rule will
                       generally not constitute such excusable neglect. We are not
                       alone in that view ... Where ... the rule is entirely clear, we
                       continue to expect that a pafty claiming excusable neglect
                       will, in the ordinary course, lose under the Pioneertest.

Canfield v. Van Atta Buick/GMC Truck, Inc., 127 F.3d 248,250-51 (2d Ck.l997) (citations



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 omitted).     See    In re Albicocco, 06 CV 3409 JFB, 2006 WL 2376447, *4 (E.D.N.Y. Aug.             16,

 2006) (Court found that Debtor's late filing did not constitute "excusable neglect").


         22.     Finally,   as   aptly recognizedby the Supreme Court rn United   States v.   Locke,477

 U.S. 84, 101, 105 S. Ct. 1785, 1796, (1985): "[fliling deadlines like statutes of limitarions,

 necessarily operate harshly and arbifrarily with respect to individuals who fall just on the other

 side of them, but if the concept of a filing deadline is to have any content, the deadline must

 be enforced."




         4.   Starling's Claim and Answer Should Be Stricken For Failure To Comply With
              Rule G of The Supplemental Rules For Admiralty Or Maritime Claims


         23.     Starling was sent notice of this action by the United States on June 11,2027.

The notice documents clearly and unequivocally stated that the deadline to file a claim in this

 action was July 1612021, and additionally, any claimant must serve and file an answer to the

complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure within              2l   days

 after filing their   claim. Starling filed   her claim on November 30, 2021, four months after        it

was due and her answer on December 3,2021.




         24.     There is no evidence that the government failed to follow the proper procedures

in this maffer, nor is there evidence of mitigating circumstances that would excuse Starling's

failure to flle a timely claim and answer.




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                                          CONCLUSION


       25.     For the reasons set forth herein, the United States respectfully moves this Court

to strike the late claim and    answer filed   by Starling pursuant to Rule G(8)(c) of        the

Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions for

failure to file an answer. In addition, the plaintiff respectfully moves this Court pursuant to

Rule 55(b) of the Federal Rules of Civil Procedure to enter   a   judgment of default against the

defendant   curency. The Plaintiffrequests    the opportunity to file a Reply to any Response

to this Motion if it deems appropriate.


DATED:       Rochester, New York, Decembe r      15   ZOZ!

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                                                            District of New York


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